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November 23, 2020

VIA ECF

Hon. Sarah L. Cave
U.S. Magistrate Judge
U.S. District Court, Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:   Precision Medicine Group, LLC, et al. v. Blue Matter, LLC, et al., Case No. 1:20-cv-02974

Dear Magistrate Judge Cave:

This firm represents the plaintiffs, Precision Medicine Group, LLC, PRECISIONadvisors Group,
Inc., and Precision Medicine Group Holdings, Inc. (collectively, “Precision” or the “Company”) in
the above-referenced matter. We write pursuant to Your Honor’s November 13, 2020 order to
set forth all outstanding discovery issues between Precision and Blue Matter, LLC (“Blue Matter”).
As detailed below, Precision and Blue Matter have been unable to reach an agreement regarding:
(1) the search terms Blue Matter will use in searching for and producing electronically stored
information (“ESI”) responsive to Precision’s document requests; (2) whether Blue Matter will
search for and produce ESI from the personal email accounts of its founder and managing partner,
Ashwin Dandekar; and (3) the definition of “Market Access” used by Precision in its discovery
requests. Accordingly, Precision and Blue Matter respectfully submit these issues for Your
Honor’s consideration.1

I.     Precision’s Position

       A.      Blue Matter’s ESI Search Terms

Nearly five months ago, on July 2, 2020, Precision served document requests on Blue Matter
along with proposed ESI search terms. On a July 21st phone call regarding those terms, Blue
Matter stated that it believed Precision’s proposed search terms would likely return an unduly
burdensome number of hits and asked Precision to provide revised terms. Precision requested
that Blue Matter first run its proposed search terms and provide hit counts so that Precision could
assess whether and how to revise its proposed search terms, which Blue Matter agreed to do.


1 Precision and Blue Matter are aware of Rules I.A and II.C.2 of Your Honor’s Individual Rules of
Practice requiring that certain letters and letter motions not exceed three pages in length. In light
of Your Honor’s order directing the parties to make one joint submission concerning all
outstanding discovery issues, Precision and Blue Matter are unsure as to whether this submission
is subject to those rules. Accordingly, while the parties have endeavored to keep this submission
as succinct as possible, it does exceed three pages.
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Over three months later, on October 23rd, Blue Matter finally provided those hit counts to
Precision.2

On October 29th, the parties met and conferred regarding Precision’s proposed search terms
once again. At that time, Blue Matter represented that Precision’s search terms yielded over
40,000 hits (60,000+ inclusive of document families), which Blue Matter considered unduly
burdensome. Accordingly, on November 3rd, Precision sent Blue Matter revised search which
contained numerical connectors designed to substantially limit the number of hits returned by its
search terms. On November 9th, the parties met and conferred regarding Precision’s revised
search terms, at which time Blue Matter advised Precision that its revised search terms yielded
30,832 documents with hits (55,000+ inclusive of families). Later that day, Blue Matter provided
alternative proposed search terms to Precision.

On November 12th, Precision responded to Blue Matter’s alternative proposed search terms and
advised Blue Matter that they were deficient in numerous respects. Among other things, Precision
explained that Blue Matter’s alternative proposed search terms completely omitted terms
proposed by Precision that were needed to capture documents responsive to key issues in this
case, such as the terms “noncompet*, nonsolicit*, “non-disclosure,” covenant*, compet*, and
(employment AND obligation*)” connected to the names of defendants Naina Ahmad, Jose
Jauregui, or Mridul Malhotra (the “Individual Defendants”).3 Likewise, Precision explained that
Blue Matter’s proposed search terms improperly excluded all communications between the
Individual Defendants and any Blue Matter employee other than Dandekar unless a client name
was mentioned in the communication. In light of the numerous deficiencies in Blue Matter’s
proposed search terms, Precision requested that Blue Matter either proceed with the revised
terms Precision provided on November 3rd or propose further limitations (i.e., tighter numerical
connectors) to those terms. On November 15th, Precision followed up and once again requested
that Blue Matter either work with or propose further limitations to Precision’s revised search terms.

On November 18th, Blue Matter responded with hit counts on Precision’s revised proposed
search terms, again proposed deleting certain key terms, and proposed substantial limitations on
all other numerical connectors proposed by Precision. On November 19th, Precision responded,
explaining that it could not accept Blue Matter’s deletion of certain key terms, such as “market”
within 25 words of “access” or other related words. However, Precision once again attempted to

2 On August 25th, over a month after the parties’ initial discovery call, Blue Matter advised
Precision that its proposed search terms had returned “tens of thousands of hits.” However, even
then, Blue Matter did not provide any specific hit counts for any particular search terms. In
addition, Blue Matter stated that it was working with a set of alternate search terms which, Blue
Matter represented, it would send to Precision that week. Precision immediately requested to
discuss any proposed revisions to its search terms before Blue Matter proceeded with the
alternate terms it had unilaterally developed. However, Blue Matter did not respond to that
request until over a month later, on October 4th, after repeated prompting by Precision. On
October 9th the parties met and conferred by phone again regarding Precision’s proposed search
terms. At that time, Blue Matter again agreed to provide Precision with hit counts on those terms
by early the following week. However, as noted above, those hit counts were not provided until
October 23rd.
3 While Malhotra has been dismissed as a defendant in this case, Precision has kept his name as
a search term because the Company alleges that Ahmad, Jauregui, and Malhotra all conspired
together with Blue Matter to breach their obligations to Precision.
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compromise, accepting Blue Matter’s tighter numerical connectors on nearly all terms yielding
substantial hits (within 5 words of each other instead of 25) and proposing new, more restrictive
connectors on other search terms. On November 20th, Blue Matter rejected Precision’s proposed
compromise (representing that Precision’s further revised search terms yielded 47,000
documents, including families) and the parties agreed, having reached an impasse, to submit this
dispute to Your Honor. Attached hereto as Exhibit A is the final compromise proposal Precision
sent to Blue Matter on November 19, 2020.4

As detailed above, Precision has been hamstrung by Blue Matter’s excessive delays in
responding to Precision’s proposed search terms and Blue Matter’s proposal of unreasonable
alternative search terms in response. Each time Blue Matter has complained that Precision’s
proposed search terms yielded an unduly burdensome number of hits, Precision has promptly
responded with substantial revisions to those terms, only to be met with unreasonable delays and
counterproposals from Blue Matter, such as the deletion of the terms “noncompet*,” “nonsolicit*,”
and “non-disclosure,” in a case alleging the breach of non-compete, non-solicit, and non-
disclosure obligations.5

Moreover, while Blue Matter has complained about the number of hits generated by Precision’s
search terms, the overwhelming majority of those hits are the result of Blue Matter taking absurd
positions in this case. Specifically, most of the hits at issue come from search strings aimed at
capturing documents related to Blue Matter’s provision of market access consulting services;
these search strings are necessary because Blue Matter has incredibly claimed that it does not
provide market access consulting services notwithstanding its express representation to the
public that it “helps clients optimize their access and reimbursement strategies in the light of
numerous trends affecting the market,” and similar statements on its website. (See Amended
Complaint, ¶¶ 61-70). In light of Blue Matter’s denial that it provides services competitive with
Precision’s – however unbelievable that claim might be – Precision is entitled to discover
documents sufficient to establish that, as Blue Matter emphasizes quite clearly on its website, it
does in fact provide market access consulting services.6

Further, the number of documents returned by Precision’s second revised set of search terms,
which Blue Matter has represented as 47,000+ inclusive of families, is not at all unreasonable in

4 The attached spreadsheet contains the hit counts on Precision’s November 3rd revised search
terms on the left, side-by-side with the hit counts on those terms with all numerical connectors
reduced to 5 on the right (which were separately provided to Precision by Blue Matter). As
indicated in Precision’s cover email to Blue Matter, Precision highlighted in green those rows
where it would accept Blue Matter’s proposal to reduce the numerical connectors to 5, in orange
those rows where it would not, and in yellow those rows where it was proposing additional
limitations to further narrow the search results.
5 Blue Matter’s reliance on Greater New York Taxi Assoc., 2017 WL 4012051, *8 (S.D.N.Y. Sept.
11, 2017) for the proposition that Precision should have obtained an expert to opine on its search
terms is misplaced, as it completely ignores Blue Matter’s months-long delays in providing any
substantive feedback whatsoever on those terms. The suggestion that Precision could or should
have obtained an expert on this issue – when it was not even until November 20th that Blue Matter
rejected Precision’s second set of revised proposed search terms – is baseless.
6 The number of hits generated by these market access-related search terms themselves suggest
the implausibility of Blue Matter’s claim that it does not engage in market access consulting work.
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light of the issues in this non-compete/trade secrets case and the ability to review documents
efficiently and effectively using technology assisted review (“TAR”) tools, which are widely
accepted in this District and elsewhere. See, e.g., Rio Tinto PLC v. Vale S.A., 306 F.R.D. 125,
127 (S.D.N.Y. 2015) (collecting cases and noting that “the case law has developed to the point
that it is now black letter law that where the producing party wants to utilize TAR for document
review, courts will permit it.”).7

Finally, as explained above, instead of proposing actual revisions to the market access-related
search terms it deems excessive, Blue Matter has simply proposed deleting those terms
altogether and impeding Precision’s discovery of this information. Accordingly, given this
unreasonable approach to discovery, Precision requests that Blue Matter be ordered to proceed
with the compromise search terms proposed by Precision on November 19th.

        B.      Ashwin Dandekar’s Personal Email Accounts

As set forth in the Amended Complaint, Precision alleges that Ashwin Dandekar, the founder and
managing partner of Blue Matter, has had a longstanding personal relationship with the Individual
Defendants and that he advised Ahmad and Jauregui in connection with Precision’s acquisition
of their former employer, Insight Strategy Advisors (“ISA”), and Ahmad and Jauregui’s agreement
to post-employment restrictive covenants in connection with the same. (See Amended Complaint,
¶ 39). Precision further alleges that Dandekar solicited the Individual Defendants to leave
Precision and join Blue Matter in violation of their restrictive covenant obligations to the Company.
(See id., ¶ 71). In light of his central role in this case, Precision has requested that Blue Matter
search Dandekar’s personal email accounts for responsive documents, which Blue Matter has
refused to do. Case law in the Southern District of New York is clear that a party is required to
search for and produce responsive documents – including ESI – in the personal possession of its
officers, directors, and employees, where, as here, it has the “practical ability” to do so. See, e.g.,
Royal Park Investments SA/NV v. Deutsche Bank Nat'l Tr. Co., No. 14CV04394AJNBCM, 2016
WL 5408171, at *1 (S.D.N.Y. Sept. 27, 2016) (requiring plaintiff corporation to search for and
produce for emails sent or received by members of its board of directors from their personal email
accounts); see also Alter v. Rocky Point Sch. Dist., No. 13-1100 JS AKT, 2014 WL 4966119, at
*10 (E.D.N.Y. Sept. 30, 2014) (“Defendants claim that they were not obliged to preserve work-
related ESI which employees such as Defendant Superintendent Ring utilized on their personal
computers. However, to the extent that the School District employees had documents related to
this matter, the information should have been preserved on whatever devices contained the
information (e.g. laptops, cellphones, and any personal digital devices capable of ESI storage)).

Here, as Dandekar is Blue Matter’s founder and managing partner, Blue Matter unquestionably
has the practical ability to obtain his emails. Moreover, as noted above, there is ample reason to
believe that Dandekar has communicated with the Individual Defendants using his personal email
address regarding issues that are highly relevant to this case. Specifically, Precision has alleged
that, as a friend and mentor to Ahmad and Jauregui, Dandekar advised them in connection with
their agreements to be bound by non-compete obligations to Precision. As a result, it is
reasonable to assume, particularly in a case involving tortious interference claims, that Dandekar
would have surreptitiously used a personal email account(s), at a minimum, for those
communications. Precision’s argument is further bolstered by the fact that the Individual

7 Indeed, even Precision’s initial proposed search terms were reasonable, but Precision twice
proposed revised search terms in a good-faith effort to compromise.
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Defendants and Dandekar have already admitted that they communicated with each other over
channels other than his Blue Matter email address, such as by text messages.8

As Precision has proposed a small set of narrowly tailored search terms to be used in searching
Dandekar’s personal email accounts for responsive documents – specifically, the names and
email addresses of the Individual Defendants, Precision’s and ISA’s corporate names, and the
names of Harry Schiavi (ISA’s founder)9 and Kelly Scull (a former Precision and now current Blue
Matter employee) – there is no basis for Blue Matter to refuse to search Dandekar’s personal
email accounts. Lastly, Precision is not required to take Blue Matter’s self-serving and
unsupported statement that Dandekar did not communicate with the Individual Defendants via
personal email at face value. This is especially true in cases such as the instant matter where
individuals commonly use their personal email to communicate with one another in an effort to
hide their unlawful conduct from detection. Indeed, if Dandekar truly did not use his personal
email account to communicate with the Individual Defendants, then a search of his personal email
using the search terms Precision has proposed would yield zero hits and all parties would have
certainty in knowing that no relevant documents exist in Dandekar’s personal email accounts.
Accordingly, Precision requests that Blue Matter be ordered to search all of Dandekar’s personal
email accounts for responsive documents using the search terms provided by Precision on
November 15th, as set forth in the attached Exhibit B.

        C.      Precision’s Definition of “Market Access” In Its Discovery Requests

In its discovery requests to Blue Matter, Precision defined various terms for purposes of Blue
Matter collecting and producing responsive documents, including the term “Market Access.” Blue
Matter has objected to producing documents responsive to Precision’s definition of Market Access
and has proposed its own, more limited definition, eliminating certain key terms from Precision’s
definition (See the redline attached hereto as Ex. C).

Blue Matter’s assertion that certain activities included in Precision’s definition of Market Access
do not fall within the general scope of “market access” in the industry is irrelevant and based upon
nothing more than semantics. What is relevant is what Precision has alleged with respect to the
services that Precision and Blue Matter both offer – those described in Precision’s definition of
Market Access. Accordingly, Precision is entitled to discover evidence regarding Blue Matter’s
provision of those services – whatever Blue Matter might call them – in order to prove that Blue
Matter is a competitor. Blue Matter is free to argue that Precision and Blue Matter are not

8 Blue Matter’s claim below that there is not a “single piece of evidence showing that Mr. Dandekar
used his personal email address for Blue Matter business” is both self-serving and circular. The
only entities who would have such communications are the Individual Defendants and
Dandekar/Blue Matter. Yet, to date, neither the Individual Defendants nor Dandekar/Blue Matter
have produced a single communication between them (other than their formal Blue Matter offer
letters). In light of Blue Matter’s and the Individual Defendants’ discovery deficiencies to date, it
is nonsensical, then, for Blue Matter to expect Precision to have proof of such email
communications.
9In light of the obligation to produce responsive ESI in the personal possession of employees,
Precision has agreed to the Individual Defendants’ request to search Harry Schiavi’s personal
email accounts and cell phone for responsive documents and has provided the Individual
Defendants with hit counts of the same.
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competitors because they do not actually provide the same services, but Blue Matter cannot limit
discovery concerning those services by objecting to Precision’s definition of its own defined term.
Accordingly, Precision requests that Blue Matter be required to use Precision’s definition of
Market Access in searching for and producing documents responsive to Precision’s discovery
requests.

II.     Blue Matter’s Position

        A.      Blue Matter’s ESI Search Terms

During our Conference Call on November 13, 2020, Your Honor strongly urged the parties to meet
in good faith and work together to resolve the remaining issues relating to the electronic discovery.
Blue Matter did just that. In an effort to move discovery, Blue Matter agreed: (1) to add five
additional custodians (for a total of nine custodians); and (2) to search and produce Ashwin
Dandekar’s limited text messages with the Individual Defendants. Precision, however, refused to
make any concessions.

Specifically, Precision continues to insist on unreasonable search terms (227 terms in total) that
produced over 47,000 hits (including families). We refer the Court to the report attached as Exhibit
D. Assuming a review of 100 documents per hour, it would take over 470 hours to search and
produce these documents, which is both unduly burdensome and costly and greatly exceeds the
proportional needs of this case. Minor revisions to these proposed search terms, in particularly
eliminating 12 terms, drastically reduces the hit count to 17,714, which is much more reasonable.
We refer the Court to the report attached as Exhibit E. These 12 terms are not aimed at the heart
of this matter, but rather are aimed at obtaining documents relating to Blue Matter’s general
business activities which is irrelevant. These terms are attached as Exhibit F. Moreover, many
of the generic terms Precision insists on using are still included on Blue Matter’s list, but are
connected to the individual defendants’ names (e.g., (Ahmad OR Jauregui OR Malhotra) AND
personnel).

Instead of explaining to the Court why these 12 terms are relevant, Precision does nothing more
than attempt to cast blame on Blue Matter’s alleged delay in negotiating reasonable search terms.
Precision overlooks the fact that it could have brought this issue to the Court’s attention sooner,
but chose not to. In any event, complaining about delay simply detracts from the issue at hand;
namely Precision’s lack of any meaningful basis to require a review of over 47,000 documents.

Precision relies on nothing more than its own speculation (indeed, no expert opinion has been
provided) that these search terms will produce relevant documents. See Greater New York Taxi
Assoc., 2017 WL 4012051, *8 (S.D.N.Y. Sept. 11, 2017). Precision fails to meet its Rule 26(b)(1)
obligation and demonstrate how the requested electronic discovery is relevant to either its claims
or Blue Matter’s defense and is proportional to the needs to of this case. Precision has absolutely
no evidence that Blue Matter is in possession of alleged confidential information and data (as
alleged in the Amended Complaint). Yet, Precision seeks to have Blue Matter engage in costly
and time-consuming electronic discovery that amounts nothing more than a fishing expedition. As
stated above, the 12 search terms at issue are not designed to obtain discovery relating to Blue
Matter’s hiring of the Individual Defendants or even its alleged possession of Precision’s data, but
rather Blue Matter’s general business activities.

        B.      Ashwin Dandekar’s Personal Email Accounts
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Blue Matter respectfully requests that the Court deny Precision’s request to conduct electronic
discovery with regards to Ashwin Dandekar’s personal email account. Mr. Dandekar did not use
his personal email accounts for Blue Matter business, and there is absolutely no evidence to the
contrary. See CA, Inc. v. AppDynamics, Inc., 2014 WL 12860591 (E.D.N.Y. Sept. 8, 2014)
(allowing electronic discovery of corporate officers’ personal email accounts because there was
evidence that they used their personal email accounts for business purposes – namely, they
admittedly transferred business emails and documents between their business and personal
email accounts).

Despite Precision assertion “there is ample reason to believe” that Mr. Dandekar used his
personal email account for Blue Matter business, one critical factor is notably absent from
Precision’s request – evidence! Precision has not produced a single piece of evidence showing
that Mr. Dandekar used his personal email address for Blue Matter business. Indeed, Mr.
Dandekar denies doing so, and the Individual Defendants never stated that they communicated
with him on his personal email account. Precision relies on representations that Mr. Dandekar
and the Individual Defendants exchanged text messages. However, Blue Matter agreed to
produce those text messages – a fact that Precision fails to advise the Court. The fact that Mr.
Dandekar and the Individual Defendants exchanged text messages is not evidence that Mr.
Dandekar used his personal email account, and it is illogical to assume that he did. This request
is based solely on Precision’s speculation and, as such, does not justify the time and cost
associated with conducting electronic discovery on Mr. Dandekar’s personal email account. If
discovery reveals that his personal email account was used for Blue Matter business, Plaintiff can
renew its request. Given the lack of any evidence, this is request is nothing more than an improper
fishing expedition, which should be denied.

This impermissible fishing expedition is aimed at harassing Mr. Dadekar, who is not an individual
defendant in this matter. See Sutherland v. Suffolk County, 2016 WL 3264169 (E.D.N.Y. June 14,
2016) (allowing electronic discovery of personal email accounts because they were sued in their
individual capacities).

Finally, Plaintiffs’ reliance on Royal Park Investments v. Deutsche Bank National Trust Co., 2016
WL 5408171 (S.D.N.Y. Sept. 27, 2016) is completely misplaced. Critical to the Court’s ruling that
the corporate directors must permit electronic discovery of their personal email accounts is the
fact that these individual did not maintain a business email account, but rather conducted
business on personal email accounts. Royal Park Investments, 2016 WL 5408171 at *8. As noted
above, Mr. Dandekar utilizes a Blue Matter email account when conducting business. Blue Matter
already agreed to search this account.

        C.      Precision’s Definition of “Market Access” In Its Discovery Requests

Precision’s claims against the Individual Defendants revolve around a contention that their
employment with Blue Matter was competitive with Precision because Blue Matter allegedly
engages in “Market Access” projects for clients. So-called “market access” projects are a limited
sub-specialty in the general pharmaceutical consulting services business.

Precision’s definition of “market access” in its discovery requests, however, is so broad as to
encompass all pharmaceutical projects, not just market access projects. It includes phrases such
as “driving product growth,” “product positioning,” “product promotion” and others that essentially
encompass all of pharmaceutical consulting, not just “market access” pharmaceutical consulting.
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The definition is so broad as to in fact be meaningless. Blue Matter proposed an alternative
definition that deletes the broad phrases and focusing on “payers” of pharmaceutical services,
which is the focus of “market access” consulting.

Precision has provided no specific information as to why Blue Matter’s definition of “market
access” is deficient. And it was Precision, through their complaint and discovery requests, that
put the definition of “market access” at issue. But Precision attempts to skirt their own limitation
by defining market access effectively to be all pharmaceutical consulting services. Precision
cannot have it both ways. Market access is market access. Precision cannot expand the scope
of discovery by misleadingly defining the scope of the business that it is actually concerned about
in this case as alleged in its complaint.



                                         *       *       *

Thank you for your consideration of this request.

Respectfully submitted,



Jonathan Stoler
for SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

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